          Case 3:17-cv-01756-MK        Document 32      Filed 12/30/20     Page 1 of 2




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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON


SIGRID LEE GIES,                                                    Case No. 3:17-cv-01756-MK

                      Plaintiff,
                                                              ORDER FOR ATTORNEY FEES
         v.                                                       UNDER 42 U.S.C § 406(B)
COMMISSIONER SOCIAL SECURITY
ADMINISTRATION,

                        Defendant.




        Pursuant to U.S.C. § 406(b), reasonable attorney fees in the amount of $15, 190.00 are

hereby awarded to Plaintiff’s attorney, Nancy J. Meserow. Previously this Court awarded

Plaintiff EAJA fees in the amount of $14,828.24 which were paid by the government. When

issuing the 406(b) fee check to Ms. Meserow, the Agency is therefore directed to subtract the

amount paid as EAJA fees, and send to Ms. Meserow the balance remaining of the $15, 190.00

attorney fees hereby ordered, by check payable to Nancy J. Meserow in the amount of $361.76,

sent to her office:

                        Nancy J. Meserow
                        c/o Law Office of Nancy J. Meserow
                        7540 S.W. 51st Avenue
                        Portland, Oregon
                        97219
         Case 3:17-cv-01756-MK         Document 32         Filed 12/30/20    Page 2 of 2




 Any withheld amount then remaining from Plaintiff’s awarded benefits should be released to

Plaintiff by Defendant as soon as practicable.

       IT IS SO ORDERED this 30th day of December 2020.

                                                 s/ Mustafa T. Kasubhai
                                                 MUSTAFA T. KASUBHAI
                                                 United States Magistrate Judge
